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                      UNITED STATES DISTRICT COURT
                                    DISTRICT OF NEW JERSEY


           Chambers of                                       Martin Luther King Federal Building
      Leda Dunn Wettre                                               & U.S. Courthouse
   United States Magistrate Judge                                     50 Walnut Street
                                                                     Newark, NJ 07101
                                                                       (973) 645-3574


                                                    April 9, 2020

To:    All counsel of record

                                        LETTER ORDER

Re:    Roofers’ Pension Fund v. Papa, et al., Civ. A. No. 16-2805 (MCA) (LDW)

       Carmignac Gestion, S.A. v. Perrigo Co. plc, et al., Civ. A. No. 17-10467 (MCA) (LDW)

       Mason Capital L.P., et al. v. Perrigo Co. plc, et al., Civ. A. No. 18-1119 (MCA) (LDW)

       Pentwater Equity Opportunities Master Fund Ltd., et al. v. Perrigo Co. plc, et al., Civ. A.
       No. 18-1121 (MCA) (LDW)

       Harel Ins. Co., Ltd., et al. v. Perrigo Co. plc, et al., Civ. A. No. 18-2074 (MCA) (LDW)

       First Manhattan Co. v. Perrigo Co. plc, et al., Civ. A. No. 18-2291 (MCA) (LDW)

       TIAA-CREF Investment Mgmt., LLC, et al. v. Perrigo Co. plc, et al., Civ. A. No. 18-8175
       (MCA) (LDW)

       Nationwide Mutual Funds, et al. v. Perrigo Co. plc, et al., Civ. A. No. 18-15382 (MCA)
       (LDW)

       WCM Alternatives: Event-Driven Fund, et al. v. Perrigo Co. plc, et al., Civ. A. No. 18-16204
       (MCA) (LDW)

       Hudson Bay Master Fund Ltd., et al. v. Perrigo Co. plc, et al., Civ. A. No. 18-16206 (MCA)
       (LDW)

       Schwab Capital Trust, et al. v. Perrigo Co. plc, et al., Civ. A. No. 19-3973 (MCA) (LDW)

       Sculptor Master Fund, Ltd., et al. v. Perrigo Co. plc, et al., Civ. A. No. 19-4900 (MCA)
       (LDW)

       Aberdeen Canada Funds – Global Equity Fund, et al. v. Perrigo Co. plc, et al., Civ. A. No.
       19-6560 (MCA) (LDW)
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       Discovery Global Citizens Master Fund, Ltd., et al. v. Perrigo Co. plc, et al., Civ. A. No. 19-
       21502 (MCA) (LDW)

       York Capital Mgmt., L.P., et al. v. Perrigo Co., plc, et al., Civ. A. No. 19-21732 (MCA)
       (LDW)

       Burlington Loan Mgmt. DAC v. Perrigo Co., plc, et al., Civ. A. No. 20-1484 (MCA) (LDW)

Dear Counsel:

        This letter order addresses the application of intervenor the United States to further extend
the limited stay of discovery in the above-captioned Roofers’ Pension Class Action and related
Individual Actions in light of the Government’s ongoing criminal investigation into anticompetitive
practices in the generic pharmaceuticals industry. (Civ. A. No. 16-2805, ECF No. 258).

        With the consent of all parties, the Court entered an Order dated October 16, 2019 imposing
a limited stay of discovery relating to the pricing, sale, and marketing of generic pharmaceuticals in
the United States by defendant Perrigo Company plc. (Civ. A No. 16-2805, ECF No. 220). By
Order dated December 11, 2019, the Court granted the Government’s motion to extend the limited
discovery stay to March 15, 2020. (Civ. A. No. 16-2805, ECF No. 242). The Government now
requests a further extension of the limited discovery stay to June 3, 2020. (Civ. A. No. 16-2805,
ECF No. 258). The Government’s requested stay would delay a total of ten depositions for an
additional two and a half months. (Id.). Lead Plaintiff in the Class Action opposes this application.
(Civ. A. No. 16-2805, ECF No. 263). Defendants take no position. (Civ. A. No. 16-2805, ECF No.
264). Factors relevant to the Court’s determination of the appropriateness of a further stay of
discovery include: “1) the extent to which the issues in the criminal and civil cases overlap; 2) the
status of the case, including whether the defendants have been indicted; 3) the plaintiff’s interest in
proceeding expeditiously weighed against the prejudice to plaintiff caused by a delay; 4) the private
interests of and burden on defendants; 5) the interests of the court; and 6) the public interest.” Walsh
Sec., Inc. v. Cristo Prop. Mgmt., Ltd., 7 F. Supp. 2d 523, 527 (D.N.J. 1998).

        The Court has already determined that Plaintiffs’ allegations that Perrigo made material
misrepresentations regarding collusive pricing of generic drugs overlaps with the Government’s
ongoing investigation into price fixing in the generic pharmaceuticals industry. See id. (“The
similarity of issues has been termed the most important issue at the threshold in determining whether
or not to grant a stay.” (quotation omitted)). The Court has reviewed in camera the March 12, 2020
Declaration of Ryan Danks, counsel for the Antitrust Division of the Department of Justice, and
finds that while the Government’s investigation has made significant progress, including the filing
of criminal charges against generic pharmaceutical manufacturer Sandoz, Inc. and a former Sandoz
executive, allowing depositions of certain Perrigo witnesses to go forward would jeopardize
investigative opportunities in the Government’s ongoing, albeit narrowed, criminal investigation.

        While the Court appreciates Lead Plaintiff’s frustration with additional delay, such
frustration does not amount to appreciable prejudice. 1 The Court emphasizes that the discovery stay

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  Although Lead Plaintiff represents that it will “consider” foregoing these ten depositions in order
for the case to procced expeditiously to trial, the Individual Action Plaintiffs have made no such
representation. (Lead Pl. Memo in Opp. at 7, ECF No. 263). In any event, Lead Plaintiff’s
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is limited in both time and scope. In light of the coronavirus pandemic currently plaguing the United
States, it is highly unlikely that the ten depositions would be able to proceed before June 3, 2020
even if the Court were to deny the Government’s application for a stay. The Court is mindful of the
District of New Jersey’s Standing Order 2020-04, which extends all civil discovery deadlines
between March 25, 2020 and April 30, 2020 by 45 days. Although the Standing Order does not by
its terms automatically extend this limited discovery stay, the public health and safety, procedural,
and fairness considerations motivating the entry of the Standing Order apply with equal force to
extending the discovery deadline at issue here. Plaintiffs have had the opportunity to take significant
discovery to date on topics unrelated to the Government’s investigation. And while there may be
practical issues with taking certain Rule 30(b)(6) depositions, the Government has in fact released
depositions noticed to corporate defendants from the limited stay. The Government has also agreed
to try to identify additional witnesses that may be released from the limited discovery stay on or
before May 1, 2020.

       Finally, the Court notes that a similar discovery stay has been entered through June 3, 2020
in the In re: Generic Pharmaceuticals Pricing Antitrust Litigation multidistrict litigation
proceedings in the Eastern District of Pennsylvania. It is in the interest of fairness and judicial
economy for discovery in these civil actions to proceed in a coordinated manner. (Civ. A. No. 16-
MD-2724, Pretrial Order No. 117).

        On balance, the Walsh factors counsel in favor of a continued stay. Therefore, the
Government’s application to extend the limited discovery stay in the Roofers’ Pension Class Action
and the related Individual Actions is GRANTED. All terms of the Court’s October 16, 2019 Order
shall remain in effect until June 3, 2020. Again, the parties are directed to take all discovery possible
during the pendency of the limited stay and be prepared to take any remaining depositions of
witnesses subject to the stay as expeditiously as possible after June 3, 2020. The parties are directed
to meet and confer regarding the scheduling of non-stayed depositions. The parties shall appear for
a telephonic status conference before the undersigned on June 18, 2020 at 4:00 p.m. The parties
are directed to submit concise status letters to the Court no later than June 15, 2020 at 5:00 p.m.
Once all parties are on the phone, please call Chambers at (973) 645-3574.

       The Clerk of Court is directed to terminate the following motions:

                 Civil Action No.                             Motion to be Terminated
 16-2805                                             ECF No. 258
 17-10467                                            ECF No. 102
 18-1119                                             ECF No. 82
 18-1121                                             ECF No. 85
 18-2074                                             ECF No. 104
 18-2291                                             ECF No. 100
 18-8175                                             ECF No. 93
 18-15382                                            ECF No. 86
 18-16204                                            ECF No. 70
 18-16206                                            ECF No. 66
 19-3973                                             ECF No. 82


unwillingness to commit to foregoing the depositions suggests that any prejudice caused by
extending the limited discovery stay is not so great as Lead Plaintiff contends.
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 19-4900                                  ECF No. 78
 19-6560                                  ECF No. 77
 19-21502                                 ECF No. 22
 19-21732                                 ECF No. 24
 20-1484                                  ECF No. 17

      It is SO ORDERED.

                                       s/ Leda Dunn Wettre, U.S.M.J.




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